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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )       ORDER DENYING MOTION
                                              )       TO AMEND BOND CONDITIONS
       vs.                                    )
                                              )
Justin John Hinkel,                           )       Case Nos.      1:13-cr-017-04
                                              )                      1:13-cr-129-06
               Defendant.                     )


       Defendant Justin John Hinkel is charged in two criminal case pending in this court. In Case

No. 1:13-cr-017, he is charged with conspiracy to possess with intent to distribute in excess of 500

grams of a substance containing a detectable amount of methamphetamine and distribution of

methamphetamine within a school zone. In Case No. 1:13-cr-0129, he is charged with conspiracy

to possess with intent to distribute 500 grams or more of a substance containing a detectable amount

of methamphetamine resulting in serious bodily injury or death. Defendant has been ordered

detained pending trial on the charges.

       On October 28, 2013, Defendant filed a “Motion to Amend Bond Conditions.” Defendant

requests that he be released to live with his sister subject to any reasonable conditions of release.

The court concludes no combination of release conditions will reasonably assure Defendant’s

appearance and ensure the safety of the community and DENIES the motion (Case No. 1:13-cr-017,

Docket No. 123 and Case No. 1:13-cr-129, Docket No. 192). The reasons for denial include the

nature of the charged conduct and the severity of the potential penalties as well as Defendant’s

extensive prior criminal history, which includes convictions for manufacturing methamphetamine,

several burglary and theft offenses, weapons offenses, drug offenses, and escape from a correctional

institution, with many of the offenses occurring while Defendant was on probation or parole.
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Dated this 18th day of November, 2013.

                                   /s/ Charles S. Miller, Jr.
                                   Charles S. Miller, Jr., Magistrate Judge
                                   United States District Court




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